              Case 2:08-cr-00169-WBS Document 36 Filed 05/12/08 Page 1 of 3


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6
     Attorney for Defendant
7    MICHAEL PAUL MARTINEZ
8
9
                           IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )        No. Cr. S 08-169 EJG
14                                   )
                    Plaintiff,       )
15                                   )        DEFENDANT’S REQUEST FOR EXPANDED
          v.                         )        APPOINTMENT ORDER; ORDER
16                                   )
     MICHAEL PAUL MARTINEZ,          )
17                                   )
                    Defendant.       )        Time:
18                                   )        Judge: Hon. Gregory G. Hollows
     _______________________________ )
19
20
21        Pursuant to 18 U.S.C. § 3006A, the Office of the Federal Defender
22   was appointed by the duty magistrate to represent the defendant,
23   MICHAEL PAUL MARTINEZ, on April 1, 2008.          Counsel undersigned has
24   represented Mr. Martinez since that time.
25        The defendant has received a Notice of Forfeiture Proceedings from
26   the Federal Bureau of Investigations (FBI).1          The notice is related to
27
          1
           The notice was actually address to the defendant’s wife, Gloria
28   Martinez. The asset listed in the notice is a jointly held asset.
              Case 2:08-cr-00169-WBS Document 36 Filed 05/12/08 Page 2 of 3


1    this criminal proceeding.        Mr. Martinez, with assistance of counsel, is
2    in the process of filing a Claim of Ownership pursuant to 18 U.S.C. §
3    983 which would transfer the matter to the district court.
4         18 U.S.C. §3006A(c) states that appointed counsel’s representation
5    should continue through every stage of the proceeding “including
6    ancillary matters appropriate to the proceedings”.            18 U.S.C. §
7    983(b)(1)(A) states:
8                      If a person with standing to contest the
                  forfeiture of property in a judicial civil forfeiture
9                 proceeding under a civil forfeiture statute is
                  financially unable to obtain representation by
10                counsel, and the person is represented by counsel
                  appointed under section 3006A of this title [18 U.S.C.
11                § 3006A] in connection with a related criminal case,
                  the court may authorize counsel to represent that
12                person with respect to the claim.
13        Accordingly, the defendant respectfully asks this Court to
14   authorize the Federal Defender Office to represent him in all civil
15   forfeiture proceedings related to this case.
16   Dated:    May 6, 2008
                                               Respectfully submitted,
17
                                               DANIEL J. BRODERICK
18                                             Federal Defender
19
                                               /s/ Linda C. Harter
20                                             ________________________________
                                               LINDA C. HARTER
21                                             Chief Assistant Federal Defender
                                               Attorney for Defendant
22                                             MICHAEL PAUL MARTINEZ
23
24                                         O R D E R
25        Pursuant to 18 U.S.C. § 3006A(c) and 18 U.S.C. §983(b)(1)(A), this
26   Court approves the expansion of the order appointing counsel to
27   \\\\\
28   \\\\\


     Request for expanded appointment or
                                       -d2e
                                          -r
           Case 2:08-cr-00169-WBS Document 36 Filed 05/12/08 Page 3 of 3


1    represent MICHAEL PAUL MARTINEZ to include representation in all civil
2    forfeiture proceedings related to the pending criminal charges.
3    Dated:05/12/08
                                            /s/ Gregory G. Hollows
4                                           _________________________________
                                            Hon. GREGORY G. HOLLOWS
5                                           U.S. Magistrate Judge
6    martinez169.ord
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Request for expanded appointment or
                                       -d3e
                                          -r
